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                                                                                                09483-001

                                              August 14, 2023

Via ECF
Honorable John K. Sherwood
United States Bankruptcy Court
Martin Luther King Jr. Federal Building
50 Walnut Street
Newark, NJ 07102

       Re:     Daniel M. Risis
               Chapter 7; Case No. 23-11800 (JKS)
               Hearing Date: August 17, 2023

Dear Judge Sherwood:

       As the Court is aware, this firm serves as co-counsel to Donald V. Biase, Chapter 7 Trustee
(the “Trustee”) for Daniel M. Risis (the “Debtor”).

        On August 2, 2023, we filed a Notice of Motion to (i) Approve and Authorize Payment of
Fees and Expenses to McManimon, Scotland & Baumann, LLC, Co-Counsel to Trustee; (ii)
Authorize a Mortgage on Any and All Real Property in Which the Debtor Has an Interest and a
Judgment Lien on All of Debtor’s Personal Property in Favor of Trustee and His Professionals;
(iii) Authorize a Surcharge Against Equitable Share of Mallary Risis in Proceeds of Sale of 23
Linden Avenue, West Orange, New Jersey, as a Result of Damage Caused to Such Property that
Was Under Mallary Risis’s Custody and Control; and (iv) Granting Such Other and Further Relief
as This Court Deems Just and Proper (the “Motion”) (Doc. No. 392).

       Initially, to be clear, our Motion did intend to include our co-counsel, Trenk Isabel Siddiqi
& Shahdanian P.C. (the “TISS Firm”), as a professional to receive a mortgage and lien on the real
and person property, respectively. In addition, it includes the Trustee Mr. Biase and the accountant
Sean Raquet.

        Further, on August 3, 2023, the TISS Firm filed an application for compensation (Doc. No.
396), and on August 9, 2023, filed a response and joinder to the Motion (Doc. No. 398). We have
reviewed the fee application filed by TISS and believe it is more than fair and reasonable—
especially due to the excessive filings by the Debtor and the havoc and commotion caused by him
at every hearing and closing.
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        The Court indicated at the last hearing that the Porzio mortgage should not be paid until a
further order of the court. Porzio argued that there was no basis for the court to hold back its
payment on the mortgage. We question, however, whether Mallary Risis signed the mortgage in
favor of the Porzio firm on the West Orange property. It appears that Mallary Risis’ signature was
clearly forged on the West Orange property mortgage in favor of Porzio (without Porzio’s
knowledge). Compare Ms. Risis signature of the Porzio mortgage (notarized by Jaimie Resnick)
with her signatures on the US Alliance and JP mortgages. The signatures are not even close to
comparable. The mortgages are attached for reference. The Trustee requests that he be allowed
the opportunity to conduct discovery regarding the validity of Ms. Risis signature before the Porzio
firm is paid.

        Further, we would immediately request two certifications be filed with the court. One
should be from Mallary Risis stating that she did execute the mortgage in favor of Porzio. Her
certification should state where and when (date and time) it was signed. The other certification
should be from Ms. Resnick stating that she witnessed Ms. Risis sign the mortgage and the place,
date and time she signed.

       We appreciate the Court’s consideration.

                                              Respectfully submitted,

                                              /s/ Anthony Sodono, III

                                              Anthony Sodono, III

AS
Enclosures




                                                                                   4855-2487-6919, v. 1
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